     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 1 of 8 Page ID #:1




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12
13                     IN THE UNITED STATES DISTRICT COURT
14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   TERRY FABRICANT, individually and on )            Case No. 2:19-cv-03313
16   behalf of all persons similarly situated, )
                                               )       COMPLAINT FOR VIOLATIONS OF THE
17                                  Plaintiff  )       TELEPHONE CONSUMER PROTECTION
18                                             )       ACT, 47 U.S.C. §227, ET SEQ.
     v.                                        )       CLASS ACTION
19
                                               )
20   MERCHANT INDUSTRY, LLC, a New             )            JURY TRIAL DEMANDED
21   York Limited Liability Company,           )
                                               )
22                                  Defendant. )
23   ___________________________________ )
24                                JURISDICTION AND VENUE
25         1.     This Court has jurisdiction under 28 U.S.C. §1331 (general federal
26   question), §1337, and 47 U.S.C. §227.
27         2.     Venue in this district is proper because a substantial part of the events or
28   omissions giving rise to the claim occurred in this district.


                                                   1
                                              COMPLAINT
                                                                                    2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 2 of 8 Page ID #:2




1                                       INTRODUCTION
2          3.     The plaintiff, Terry Fabricant (“Fabricant” or “Plaintiff”), seeks redress
3    under the Telephone Consumer Protection Act, 47 U.S.C. §227, et seq. (“TCPA”) from
4    Merchant Industry, LLC (“Defendant”) for its practice of placing automated
5    telemarketing calls to cellular telephone numbers without prior express written consent.
6                                           THE TCPA
7          4.     When Congress enacted the TCPA, it found that “automated or pre-
8    recorded calls are a nuisance and an invasion of privacy, regardless of the type of call”
9    and decided that “banning” such calls made without consent was “the only effective
10   means of protecting telephone consumers from this nuisance and privacy invasion.” Pub.
11   L. No. 102-243, §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227.
12         5.     The Federal Communication Commission (“FCC”), the agency Congress
13   vested with authority to issue regulations implementing the TCPA, has also recognized
14   that the TCPA’s protections regarding robocalls to cellular telephones were enacted
15   because wireless customers are charged for incoming calls whether they pay in advance
16   or after the minutes are used. Rules and Regulations Implementing the Telephone
17   Consumer Protection Act of 1991, 18 FCC Rcd. 14014 (2003).
18         6.     The TCPA thus makes it unlawful to make any call using an “automatic
19   telephone dialing system” to any telephone number assigned to cellular telephone
20   service unless the call is made “for emergency purposes” or with the “prior express
21   consent of the called party.” 47 U.S.C. § 227(b)(1)(A)(iii).
22         7.     In 2012, pursuant to its rulemaking authority under the TCPA, the FCC
23   imposed even stricter requirements on “advertising” and “telemarketing” text messages
24   by making it unlawful to:
25         Initiate, or cause to be initiated, any telephone call that includes or
26         introduced an advertisement or constitutes telemarketing, using an
27         automatic telephone dialing system or an artificial or prerecorded voice, to
28         any [cellular telephone number], other than a call made with the prior


                                                  2
                                             COMPLAINT
                                                                                   2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 3 of 8 Page ID #:3




1          express written consent of the called party[.]
2    47 C.F.R. § 64.1200(a)(2). This prior express written consent requirement became
3    effective on October 16, 2013.
4          8.    The term “prior express written consent” means:
5          [A]n agreement, in writing, bearing the signature of the person called that
6          clearly authorizes the seller to deliver or cause to be delivered to the person
7          called advertisements or telemarketing messages using an automatic
8          telephone dialing system or an artificial or prerecorded voice, and the
9          telephone number to which the signatory authorizes such advertisements or
10         telemarketing messages to be delivered. (i) The written agreement shall
11         include a clear and conspicuous disclosure informing the person signing
12         that: (A) By executing the agreement, such person authorizes the seller to
13         deliver or cause to be delivered to the signatory telemarketing calls using an
14         automatic telephone dialing system or an artificial or prerecorded voice;
15         and (B) The person is not required to sign the agreement (directly or
16         indirectly), or agree to enter into such an agreement as a condition of
17         purchasing any property, goods, or services.
18   47 C.F.R. § 64.1200(f)(8). In other words, the agreement “must tell consumers the
19   telemarketing will be done with autodialer equipment and that consent is not a condition
20   of purchase.” In re Rules & Regulations Implementing the Telephone Consumer
21   Protection Act of 1991, 30 FCC Rcd 7961, 8012-8013 ¶ 98 (F.C.C. July 10, 2015).
22                                          PARTIES
23         9.    Fabricant is an individual and a resident of Los Angeles County, California.
24         10.   Fabricant is a “person” as defined by 47 U.S.C. §153(39).
25         11.   Defendant is a New York Limited Liability Company with its principal
26   offices in Long Island City, New York.
27                                    Defendant’s Business
28         12.   Defendant sells credit card processing equipment marketed as


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                                              COMPLAINT
                                                                                   2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 4 of 8 Page ID #:4




1    “Swipe4Free” to small businesses.
2           13.     In order to sell Swipe4Free, Defendant purchases “leads” (i.e., names and
3    contact information of potential buyers) from third parties and then places automated
4    telemarketing calls to those “leads.”
5           14.     Defendant used VanillaSoft software to both manage its list of leads and to
6    place the automated telephone calls.
7           15.     VanillaSoft markets its automated dialing software for its ability “to remove
8    the tedious task of manually dialing telephone numbers”; to engage in “progressive
9    dialing” such that “when the user dispositions a contact, the next record appears on the
10   screen and the number is automatically dialed”; and to use “prerecorded voicemail
11   messages” with “voicemail drop” technology.
12          16.     Defendant, accordingly, advertises its “**automated dialer**” in job
13   postings for telemarketing positions at its company.
14                              FACTS SPECIFIC TO PLAINTIFF
15          17.     At all times relevant to this action, Plaintiff was the subscriber and regular
16   user of the cellular telephone number xxx-xxx-1083.
17          18.     On December 13, 2018, Defendant used the VanillaSoft dialing software to
18   place at least three automated telemarketing calls to the 1083 number for the purpose of
19   selling Plaintiff the Swipe4Free equipment.
20          19.     On December 17, 2018, Defendant used the used the VanillaSoft dialing
21   software to place another automated telemarketing call to the 1083 number for the
22   purpose of selling Plaintiff the Swipe4Free equipment.
23          20.     Defendant did not have Plaintiff’s prior express written consent to place
24   these calls.
25          21.     Defendant’s calls harmed Plaintiff by violating his rights under the TCPA.
26          22.     Defendant’s calls harmed Plaintiff by causing the very harm that Congress
27   sought to prevent - a “nuisance and invasion of privacy.”
28          23.     Defendant’s calls harmed Plaintiff by trespassing upon and interfering with


                                                    4
                                               COMPLAINT
                                                                                      2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 5 of 8 Page ID #:5




1    his rights and interests in his cellular telephone.
2          24.    Defendant’s calls harmed Plaintiff by intruding upon seclusion.
3          25.    Defendant’s calls harmed Plaintiff by causing aggravation and annoyance.
4          26.    Defendant’s calls harmed Plaintiff by wasting his time.
5          27.    Defendant’s calls harmed Plaintiff by depleting the battery life on his
6    cellular telephone.
7                                CLASS ACTION ALLEGATIONS
8          28.    Considering Defendant’s business practices, Plaintiff alleges that Defendant
9    placed numerous automated telemarketing calls to the cellular telephone numbers of
10   many persons who also did not provide prior express written consent.
11         29.    Plaintiff therefore seeks certification of a class of similarly situated
12   individuals, defined, subject to amendment, as follows:
13                (1) All persons residing in the United States (2) to whose cellular telephone
14                number (3) Defendant placed a non-emergency telephone call (4) between
15                December 13, 2014 and the date the Court rules on Plaintiff’s Motion for
16                Class Certification, (5) using the Vanilla Soft dialing software (6) for the
17                purpose of telemarketing Defendant’s products or services
18         30.    The Class is so numerous that joinder is impracticable. Considering
19   Defendant’s business practices, there are, on information and belief, hundreds, if not
20   thousands, of members of the class and subclass. The joinder of all Class members is
21   impracticable due to the size of the class and subclass. The disposition of the claims in a
22   class action will provide substantial benefit the parties and the Court in avoiding a
23   multiplicity of identical suits.
24         31.    The Class and subclass are easily identified through records maintained by
25   Defendant and third parties.
26         32.    For the Class and subclass, there are questions of law and fact common to
27   the members, which predominate over any questions that affect only individual class
28   members. These common questions include:


                                                    5
                                               COMPLAINT
                                                                                     2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 6 of 8 Page ID #:6




1                  a. Whether Defendant used an automatic telephone dialing system;
2                  b. Whether any form of consent Defendant may claim qualifies as prior
3                  express written consent;
4                  c. Whether Defendant’s conduct was knowing and/or willful; and
5                  d. Whether Plaintiff is entitled to injunctive relief.
6            33.   Plaintiff’s claims are typical of the claims of the member of the class and
7    subclass, as they all received automated telemarketing calls on their cellular telephone
8    numbers soliciting them to purchase defendant’s products or services.
9            34.   Plaintiff will fairly and adequately represent the interest of the class as he is
10   willing to devote the time necessary to serve as class representative and has retained
11   counsel experienced in handling class actions seeking relief under the TCPA and other
12   laws.
13           35.   A class action is superior to other alternative methods of adjudicating this
14   dispute. Class wide relief is essential to compel Defendant to comply with the TCPA.
15   The interest of Class members in individually controlling the prosecution of separate
16   claims against Defendant is small because the statutory damages in an individual action
17   for violation of the TCPA are small. Plaintiff believes that Class Members, to the extent
18   they are aware of their rights against Defendant, would be unable to secure counsel to
19   litigate their claims on an individual basis because of the relatively small nature of the
20   individual damages warranted and/or the value of individual injunctive relief.
21           36.   Further, management of these claims is likely to present significantly fewer
22   difficulties than are presented in many class claims because the calls at issue are all
23   automated and the Class and subclass are easily identified through call records.
24           37.   Hence, a class action is the only feasible means of recovery for the Class
25   Members.
26           38.   Defendant has acted on grounds generally applicable to the Class and
27   subclass, thereby making final injunctive relief and corresponding declaratory relief
28   with respect to the Class as a whole appropriate. Moreover, on information and belief,


                                                    6
                                               COMPLAINT
                                                                                      2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 7 of 8 Page ID #:7




1    Plaintiff alleges that the TCPA violations complained of herein are substantially likely
2    to continue in the future if an injunction is not entered.
3                FIRST CLAIM FOR RELIEF – VIOLATIONS OF THE TCPA
4          39.      Plaintiff repeats and realleges the above paragraphs as though fully stated
5    herein.
6          40.      Defendant used an ATDS to make telemarketing calls to the Class
7    Members’ cell phones without prior express written consent.
8          41.      The foregoing acts and omissions constitute numerous and multiple
9    violations of 47 U.S.C. § 227(b)(1)(A); 47 C.F.R. § 64.1200(a)(2).
10         42.      Defendant is directly liable for these violations because the text messages
11   were sent by Defendant taking steps necessary to physically place the calls.
12         43.      As a result of the Defendant’s violations, Plaintiff and the Class Members
13   are entitled to an award of $500.00 in statutory damages for each and every call made in
14   violation of the statute, pursuant to United States Code, Section 227(b)(3)(B), plus up to
15   treble damages for each violation found to be willful or knowing.
16         44.      Plaintiff and the Class Members are also entitled to, and do seek, injunctive
17   relief prohibiting the Defendant’s conduct in the future as described below.
18                                     PRAYER FOR RELIEF
19         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of
20   Plaintiff and the class members, and against Defendant, for:
21         a. A declaration that Defendant’s practices described herein violate the
22               Telephone Consumer Protection Act, 47 U.S.C. § 227;
23         b. An injunction requiring Defendant not to autodial any numbers obtained
24               through means other than signed, prior express written consent that complies
25               with the TCPA and FCC’s rules.
26         c. An award of statutory damages for Plaintiff and each Class Member in the
27               amount of $500.00 for each and every message that violated the TCPA;
28         d. An award of treble damages, as provided by statute, of up to $1,500.00 for


                                                   7
                                               COMPLAINT
                                                                                    2:19-CV-03313
     Case 2:19-cv-03313-PSG-JPR Document 1 Filed 04/25/19 Page 8 of 8 Page ID #:8




1             Plaintiff and each Class Member for each and every willful or knowing
2             violation;
3          e. An order certifying this action to be a proper class action pursuant to the
4             Federal Rules of Civil Procedure 23, establishing the appropriate Classes and
5             any Sub-classes the Court deems appropriate, finding that Plaintiff is a proper
6             representative of the Classes, and appointing the lawyers and law firms
7             representing Plaintiff as counsel for the Classes;
8          f. An award of Plaintiff’s attorneys’ fees, litigation expenses and costs of suit;
9             and
10         g. Such further and other relief the Court deems reasonable and just.
11
12                                       JURY DEMAND
13         Plaintiff demands a trial by jury.
14   Date: April 25, 2019
15
                                                Respectfully Submitted,
16
17
                                            CONSUMER ATTORNEY ADVOCATES
18                                          By: s/ Patric A. Lester
19                                          Patric A. Lester
20
                                            KEOGH LAW, LTD
21                                          By: s/ Timothy J. Sostrin
22                                          Timothy J. Sostrin (PHV pending)
23                                          Attorneys for Plaintiff
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                                                    8
                                                COMPLAINT
                                                                                   2:19-CV-03313
